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                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                 PITTSBURGH
ANDREW KING,                            )
                                        )
            Plaintiff,                  )           2:19-CV-00992-DSC
                                        )
     vs.                                )
                                        )
ARRESTING OFFICER VINCENT               )
DICENZOIII, NORTH VERSAILLES            )
TOWNSHIP,                               )
                                        )
            Defendants,                 )

                                CASE MANAGEMENT ORDER


       IT IS HEREBY ORDERED that this action is placed under Local Rule 16.1 for pretrial

proceedings and all provisions of the Rule will be strictly enforced. Pursuant to Local Rule 16.1,

the parties are directed as follows:

   1. The parties shall move to amend the pleadings or add new parties by December 22, 2021.

   2. The parties shall complete fact discovery by April 30, 2022. All interrogatories,

       depositions and requests for admissions and/or production of documents shall be served

       within sufficient time to allow responses to be completed prior to the close of fact

       discovery.

   3. The parties will discuss the use of experts at the mid-discovery status conference.

   4. The parties shall complete the ADR process they selected by March 1, 2022. Discovery

       is NOT stayed pending ADR.

   5. The Court will hold a mid-discovery video status conference on March 9, 2022 at 10:00

       a.m.

   6. If a discovery dispute occurs, prior to filing any discovery motions, the parties shall first

       meet and confer in an attempt to resolve the dispute. If the matter is still unresolved after



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       meeting and conferring, then the parties shall jointly contact Chambers for purposes of

       scheduling a telephone conference with the Court.

   7. The parties have elected to have the Court separately enter the Model Order located in the

       Appendix to LCvR 16.1.D relating to the protections of Federal Rule of Evidence 502(d).

   8. The Court will conduct a post-discovery video status conference on May 11, 2022 at 11:00

       a.m. Lead trial counsel shall participate, and the court will inform counsel if participation
       by the parties is necessary. Counsel must fax to 412-208-7583, or e-mail

       to catherine_grimm@pawd.uscourts.gov, updated confidential position letters on or

       before May 9, 2022.

       IT IS FURTHER ORDERED that counsel shall confer with their clients prior to all case

management, status or pretrial conferences to obtain authority to participate in settlement

negotiations to be conducted by the Court. Counsel are encouraged to instruct the principals to be

available by telephone to facilitate the amicable resolution of all litigation.


       DATED this 1st day of December, 2021.

                                               BY THE COURT:

                                               s/Cynthia Reed Eddy
                                               Chief United States Magistrate Judge

cc: all counsel of record




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